     Case 1-18-01055-ess    Doc 12        Filed 12/20/18   Entered 12/20/18 13:12:28




Eric E. Rothstein
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re:
                                                       Chapter 7
MICHAEL HEILBRON,                                      Case No. 1-18-42486 (ESS)

                             Debtor.                   NOTICE OF MOTION


BENJAMIN PLAZA, JR.,
Chapter 7 Creditor

                             Plaintiff.

v.                                                     Adv. Proc. No.   1-18-01055 (ESS)

MICHAEL HEILBRON,

                             Defendant.


C O U N S E L O R S:

         PLEASE TAKE NOTICE, that on January 31, 2019, plaintiff, BENJAMIN PLAZA,

JR., by his attorneys, ROTHSTEIN LAW PLLC, shall apply to the Honorable Elizabeth S.

Stong, United States Bankruptcy Judge, at the United States Bankruptcy Court for the

Eastern District of New York, located at 271-C Cadman Plaza East, Brooklyn, New York, for

an Order:

         1)    Denying MICHAEL HEILBRON, dischargeability pursuant to Sections 523

and 1328 of the Bankruptcy Code; and
  Case 1-18-01055-ess       Doc 12    Filed 12/20/18     Entered 12/20/18 13:12:28




          2)   Such other, further or different relief, which this Court may deem just and

proper.

Dated: New York, New York
       December 20, 2018

                                                   ROTHSTEIN LAW PLLC

                                           By:   s/ Eric E. Rothstein
                                                 Eric E. Rothstein
                                                 Attorney for Benjamin Plaza, Jr., Creditor
                                                 The Woolworth Building
                                                 233 Broadway, Suite 900
                                                 New York, New York 10279
                                                 (212) 577-9797

To:       George Bassias, Esq.
          Attorney for MICHAEL HEILBRON
          (via ECF)




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                                 CERTIFICATE OF SERVICE

        I hereby certify that   on December 20, 2018, I electronically filed a copy of the
foregoing Notice of Motion      by email to all parties by operation of the Court’s electronic
filing system or by mail to     anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing.     Parties may access this filing through the Court’s CM/ECF
System.

Dated: New York, New York
       December 20, 2018

                                         s/       Eric E. Rothstein_______
                                                  Eric E. Rothstein
                                                  Attorney for Benjamin Plaza, Jr., Creditor
                                                  The Woolworth Building
                                                  233 Broadway, Suite 900
                                                  New York, New York 10279
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Case No.:               1-18-42486 (ESS)

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: MICHAEL HEILBRON,

                                               Debtor,

_________________________________________________________________________________
BENJAMIN PLAZA, JR.,
Chapter 7 Creditor,

                                               Plaintiff,

      -     against –

MICHAEL HEILBRON,


                                               Defendant.


                                   NOTICE OF MOTION


                                  ROTHSTEIN LAW PLLC
                                   Attorney for Plaintiff
                                  The Woolworth Building
                                  233 Broadway, Suite 900
                                 New York, New York 10279
                                      (212) 577-9797




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